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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

JEANICE FARLEY, Individually and on Behalf of
                                          )
MICHAEL FARLEY, an Incompetent Adult;     )
GEORGE FARLEY; JAMES FARLEY and           )
KIMBERLY-RAE FARLEY,                      )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )             Civil No. 13-cv-261-LM
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
      Defendant.                          )
__________________________________________)

                               STIPULATION FOR DISMISSAL

       Pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, the parties stipulate

that the pending claims brought by George Farley, James Farley and Kimberly-Rae Farley shall

be dismissed, with prejudice, each party to bear its own costs. The claims of Jeanice Farley,

individually and on behalf of Michael Farley, an incompetent adult, remain.

SO AGREED:

                                                     JOHN P. KACAVAS
                                                     United States Attorney

/s/ Jamal K. Alsaffar                                /s/ David Plourde
Jamal K. Alsaffar, Esq.                              T. David Plourde

                                                     Assistant U.S. Attorney
Whitehurst, Harkness, Brees, Cheng,                  NH Bar No. 2044
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ATTORNEY FOR PLAINTIFFS                              ATTORNEY FOR DEFENDANT
Dated: July 23, 2014                                 Dated: July 23, 2014
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                                  CERTIFICATE OF SERVICE

       I certify that on this 25th day of July, 2014, a copy of the above Stipulation of Dismissal
was served via the ECF system on David Plourde, counsel for Defendant.


                                                        /s/ T. David Plourde
                                                     ____________________________
                                                     T. David Plourde, AUSA
